Dr. Arthur L. Mallory Commissioner of Education Department of Elementary and Secondary Education Jefferson State Office Building Jefferson City, Missouri 65101
Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the State Board of Education's state plan for the administration of vocational education under the Vocational Education Amendments Act of 1968, as amended.
Our review has taken into consideration the Vocational Education Act of 1963, Pub.L. 88-210, as amended; the Vocational Amendments Act of 1968, Pub.L. 90-576, as amended; the Education Amendments of 1976, Pub.L.94-482; the applicable federal regulations (45 C.F.R. Parts 100, 102, 103 and proposed rules, 45 C.F.R. Parts 104 and 105, April 7, 1977); Article III, Section 38(a), Article IV, Section 15, and Article IX, Sections 1(b),2(a), and 2(b), Missouri Constitution; Sections 161.092, 161.112, 161.122, and 178.420 through 178.580, V.A.M.S.; Sections 5.2 and 6.7 of the Omnibus Reorganization Act of 1974; and related provisions.
It is the opinion of this office that:
1.  The Missouri State Board of Education is the state agency solely responsible for the administration of vocational education in Missouri and is, therefore, the "State Board" as that term is defined in 20 U.S.C. § 1248(8);
2.  The Missouri State Board of Education has the authority under state law to submit a state plan for the administration of vocational education;
3.  The Missouri State Board of Education has the authority to administer or supervise the administration of the foregoing state plan;
4.  All provisions contained in the foregoing state plan are consistent with state law;
5.  The Commissioner of the Missouri Department of Elementary and Secondary Education has been duly authorized by the Missouri State Board of Education to submit the foregoing state plan to the United States Commissioner of Education and to represent the Missouri State Board of Education in all matters relating thereto.
In conjunction with this letter opinion which constitutes our official certification of the application, we have completed the required certification forms.
Yours very truly,
                                  JOHN ASHCROFT Attorney General